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 5

 6                            UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEVADA
 7
      In re:                                               Case No. 21-14486-abl
 8
                                                           Chapter 7
 9    INFINITY CAPITAL MANAGEMENT, INC.
      dba INFINITY HEALTH CONNECTIONS,                     EX PARTE MOTION FOR
10                                                         ALLOWANCE OF PAYMENT OF
                            Debtor.                        $2,250.00 IN SUBPOENA
11
                                                           PRODUCTION COSTS AS AN
12                                                         ALLOWED ADMINISTRATIVE
                                                           EXPENSE
13

14
               Chapter 7 trustee ROBERT E. ATKINSON (“Trustee”) hereby moves this Court for an
15
     order allowing and authorizing the payment of a certain expense for case administration,
16
     relating to subpoena production.
17
                                           BACKGROUND
18
               Upon investigation of the Debtor’s finances, the Trustee served a subpoena to Infinity
19
     Health Solutions LLC (“Infinity Health”) for various documents and information on January
20
     7, 2022. [DE #170]. Infinity Health is a relatively new company associated with the Debtor’s
21
     principals. A large number of documents and communications were sought in the subpoena,
22
     relating to potential pre-petition transfers. [Id.]
23
               In response to the subpoena, counsel for Infinity Health contacted the Trustee, and a
24
     meet-and-confer was held. At the meeting, counsel for Infinity Health requested that
25
     reasonable fees be tendered, in order to compensate Infinity Health for the cost to produce the
26
     subpoena response. The reasonable fee proposed by Infinity Health’s counsel was $2,250.00.
27
               The Trustee contacted the primary secured creditor (HASelect) about the requested
28
     amount, and the creditor did not raise an issue with the amount.


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 1
                                     LEGAL AUTHORITIES
 2
            The Trustee has a duty to administer the debtor’s estate. 11 U.S.C. § 704.
 3
            Given the large document request, the Trustee, in his business judgment, believes that
 4
     the expense is worthwhile, and is supported by applicable law in order to prevent an “unduly
 5
     burdensome” motion to quash. [See, e.g., Notes of Advisory Committee on Rules—1991
 6
     Amendment to FRCP Rule 45 (“A non-party required to produce documents or materials is
 7
     protected against significant expense resulting from involuntary assistance to the court.”)].
 8
            Given the necessity of obtaining these documents in furtherance of his duties, the
 9
     Trustee therefore asserts that the subpoena production payment is an actual and necessary
10
     expense of administering the estate.
11

12                                       RELIEF REQUESTED

13          The Trustee respectfully requests that this Court enter an order allowing the Trustee to

14   remit $2,250.00 from estate funds to Infinity Health Solutions LLC as compensation for

15   subpoena production, and that such payment be deemed an allowed 503(b) administrative

16   expense of the estate.

17                                             # # # # #
18
     DATED: February 15, 2022                      By:         /s/ Clarisse Crisostomo
19                                                       CLARISSE L. CRISOSTOMO, ESQ.
                                                         Nevada Bar No. 15526
20                                                       Attorney for Robert E. Atkinson, Trustee
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